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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


GIGI KAI ZI CHAN,

               Plaintiff,
                                                    Civil Action No. 19-cv-11605-WGY
                        v.

WELLINGTON MANAGEMENT
COMPANY LLP AND CHARLES ARGYLE,

               Defendants.


                       DEFENDANTS’ MOTION TO DISMISS FOR
                      LACK OF SUBJECT MATTER JURISDICTION

       Defendants Wellington Management Company LLP and Charles Argyle (“Defendants”)

respectfully move, pursuant to Fed. R. Civ. P. 12(b)(1), to dismiss the case in its entirety for lack

of subject matter jurisdiction. As additional support, Defendants rely on their accompanying

memorandum of law.
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                                   Respectfully Submitted,

                                   WELLINGTON MANAGEMENT COMPANY
                                   LLP and CHARLES ARGYLE,

                                   By their attorneys,

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Dated: October 13, 2021




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                               CERTIFICATE OF SERVICE

        This hereby certifies that on October 13, 2021, this document, filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                    /s/ Stephen T. Paterniti
                                                    Jackson Lewis P.C.


4841-7237-5295, v. 1




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